              CASE 0:18-cv-02689-MJD-SER Document 31 Filed 01/10/19 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MINNESOTA

                                   CIVIL MOTIONS HEARING
John Doe                                      )                      COURT MINUTES
                                              )                 BEFORE: Judge Michael J. Davis
                                Plaintiff,    )                      U.S. District Judge
                                              )
        v.                                    )      Case No:            18-cv-2689 (MJD/SER)
                                              )      Date:               January 10, 2019
St. Olaf College                              )      Courthouse:         Minneapolis
                                              )      Courtroom:          13E
                                Defendant.    )      Court Reporter:     Debra Beauvais
                                              )      Time Commenced:     11:05 a.m.
                                              )      Time Concluded:     11:31 a..m.
                                              )      Time in Court:      26 minutes
                                              )

Hearing on:   Motion to Dismiss [11]
APPEARANCES:
       Plaintiff:        Beau D. McGraw, McGraw Law Firm, PA
       Defendant:        Brittany B. Skemp and Jonathan P. Norrie, Bassford Remele

PROCEEDINGS:
The motion was moved, argued and taken under advisement. Order to follow.


Date: January 10, 2019                                            s/Gerri Rishel
                                                                    Courtroom Deputy to Judge Michael J. Davis
